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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


   MARY PRZYTULA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                        No. 17 Civ. 5124
                            Plaintiffs,

             v.

   BED BATH & BEYOND INC.,

                            Defendant.


                                 DECLARATION OF TIM PALMER

       •1, TIM PALMER, based on my personal knowledge of the facts stated herein, testify by

Declaration as follows:

       1.         1 am over the age of 18 and am otherwise competent to testify to the matters

contained in this Declaration, and if so called, would testify to the facts below.

       2.         All of the statements in this Declaration are true and accurate to the best of my

knowledge.

        3.        Every Bed Bath and Beyond Inc. ("BBB") store is different. As such, the facts set

forth in this Declaration are based on my personal knowledge from experience working in

specific BBB stores.

        4.        1 became employed by BBB in October, 2001, as a Department Manager. I was

eventually promoted to Assistant Store Manager, and then to Store Manager. Approximately 10

years ago, I was promoted to District Manager, my current position.




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       5.      In my capacity as District Manager, 1 currently oversee 9 New York stores

primarily in the Long Island area, as well as Queens and Brooklyn. 7 of my stores are very high

volume, 1 is high volume, and 1 is mid volume.

       6.      Typically, a BBB District Manager has responsibility for a number of stores in a

particular geographic area. Reporting to the District Manager are Store Managers, each of whom

is responsible for a single store. The Store Managers, in turn, have Assistant Store Managers

("ASMs") reporting to them. In my District, each store has between 2 and 5 ASMs. Each store

has between 0 and 4 Department Supervisors who report to the ASMs. ASMs also oversee

hourly store associates. The number of hourly associates varies greatly from store to store, with

my mid volume store having 33 associates and my higher volume stores having upwards of 100.

        7.     There are two types of ASMs at BBB: Operations Managers and Merchandise

Assistant Managers. All ASMs at BBB in my District are classified as exempt employees.

        8.     Both Operations Managers and Merchandise Assistant Managers are expected to

do primarily exempt work. The responsibilities required of an ASM vary as a result of a number

of factors.

        9.     One of these factors is store volume. While their exempt responsibilities remain

the same, their individual experience varies. In a high volume store, ASMs have more

Department Supervisors and hourly associates that they are responsible for training, supervising,

scheduling, and disciplining.

        10.    The turnover rate in certain stores also plays a role in ASMs' experiences. In

stores with a higher turnover rate than others, ASMs typically conduct more interviewing and

hiring, as well as more training and discipline. ASMs in stores that have longer tenured or




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experienced associates do not need to interview or recruit new candidates and/or train and

discipline their associates as often.

        11.     The type of ASM (Operations vs. Merchandise Assistant) has an impact on their

day-to-day responsibilities. While both types of ASMs are responsible for managing the

Department Supervisors and store associates who report to them, Operations Managers generally

supervise more employees than Merchandise Assistant Managers and in different ways. For

example, the Operations Managers are responsible for managing the store's productivity in

receiving freight and efficiently distributing it within the store; whereas the Merchandise

Assistant Managers are responsible for managing the overall presentation of the store and

ensuring that the store's products meet the needs of the local customer base.

        12.     Seasonality also plays a role. For example, ASMs typically have more associates

scheduled and to supervise during the back to school and holiday seasons. And, during these

busy seasons, Operations ASMs typically supervise more associates than Merchandise Assistant

Managers given the needs of the business.

        13.     In my experience, ASMs are important members of management. They are the

leaders of the store, in charge of assisting the Store Manager with running the store, and are

responsible for training and developing the associates. When a Store Manager is not at the store,

the Assistant Store Manager is in charge of the entire store.

        14.     Daniel Kehoe was employed as an Assistant Store Manager in one of my stores,

Store 850 in Bohemia, New York. Store 850 is a very high volume store with 3 ASMs, 2

Department Supervisors, and over 100 associates. When we promoted Daniel Kehoe to the

position of ASM, we spent a significant amount of time on training him and he understood what




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his job duties as an ASM required. Despite this, Daniel Kchoc was below average as an ASM

when it came to managing his associates, motivating his team, and holding them accountable.

       15.     Lori Forde also worked as an Assistant Store Manager in Store 850 in Bohemia,

New York. Like Daniel Kehoe, we spent a significant amount of time training Lori upon her

promotion. Lori had a difficult time transitioning into her role as an ASM and, instead, she often

sought guidance or help from other senior managers as if she were still a trainee. Lori was also

below average when it came to managing her team and multi-tasking with the various

responsibilities required of ASM.s. Lori was unable to effectively accomplish tasks through her

team. She lacked the ability to manage her associates in a productive manner and often failed to

hold her associates accountable.

       16.     Brad Brede also worked as an Assistant Store Manager in two of my stores, Store

260 in Westbury, New York and Store 850 in Bohemia, New York. Like Store 850, Store 260 is

also a very high volume store with 5 ASMs, 4 Department Supervisors, and over 130 store

associates. Given the volume of the store, Brad was responsible for managing and supervising a

large number of Department Supervisors and associates. However, Brad's performance as an

ASM and his managerial skills were well-below average. Brad was inconsistent at ensuring that

his team was motivated and maintaining adequate productivity levels and Brad rarely ever

disciplined or held his associates accountable.

       17.     John Dunne also worked as an Assistant Store Manager for a period of time in

one of my stores, Store 1246 in Flushing, New York. Store 1246 is my mid volume store, with 2

ASMs, 1 Department Supervisor, and approximately 33 store associates. During his time in Store

1246, John lacked the motivation expected of B13B's ASMs and consistently failed to take

initiative in performing his job duties. Given that Store 1246 is a mid-volume store with fewer




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members of senior management, John was expected to know the operational and merchandising

aspects of the store, particularly in instances where John was the only manager         in   the store.

Despite this, John told me that he was not interested in learning the Operations side of the

business. Even alier John had been an ASM            a couple of years, l still had to train and coach

him on how to run different sections of the store.



       I declare under penalty of perjury that the foregoing is true and correct.

Executed this l > day of December, 2017.


                                              13y:
                                                     Tim Palmer
                                                     District Manager
                                                     Bed Bath and Beyond Inc.




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